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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )
              v.                               )        CR 115-063
                                               )
CHRISTOPHER JODALE CUNNINGHAM                  )
WILLIE WILLIAM SMITH                           )
RICARDO MANDRELL MOBLEY                        )

                                           _________

                                           ORDER
                                           _________

       Pursuant to Fed. R. Crim. P. 12.1, the government requests that each of the captioned

Defendants serve a written notice of his intention to offer an alibi defense. Defendant

Cunningham does not oppose the motion and has already filed a Notice of Alibi Witnesses.

(Doc. no. 45.) Defendants Smith and Mobley have filed no response to the government’s

motion. The Court GRANTS the motion, (doc. no. 36), and each Defendant shall serve upon

the government his notice of intent to rely upon an alibi defense, if applicable, within

fourteen days of the date of this Order.

       SO ORDERED this 29th day of July, 2015, at Augusta, Georgia.
